                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

Federal National Mortgage Association            CIVIL ACTION NO: 1:22-cv-00361-NT

              Plaintiff

                      vs.                        RE: VACANT REAL PROPERTY
                                                 14 Middle Street, Randolph, ME 04346

Melissa J. Schultz-Nielsen a/k/a Melissa J.      Mortgage:
Andrews a/k/a Melissa J. Freeman and             September 20, 2001
Lars E Schultz-Nielsen                           Book 6638, Page 183

                 Defendants

HSBC Mortgage Services
Citibank South Dakota, NA
Capital One Bank USA NA
Lars E Schultz-Nielsen

            Party-In-Interest
          AFFIDAVIT OF KRISTINE DELGENIO IN SUPPORT OF PLAINTIFF’S
           RESPONSE TO DEFENDANTS MOTION OBJECTION TO USE OF
                         REQUEST FOR ADMISSIONS AT TRIAL

  I, Kristine DelGenio, hereby depose and state as follows:

  1. I am a paralegal at Doonan, Graves & Longoria, LLC, the law firm who represents Plaintiff

      Federal National Mortgage Association (“Fannie Mae”) in this matter. I submit this affidavit

      in support of Plaintiff ’s response to Defendant’s Motion objection to use of request for

      admissions at trial as to Defendant, Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews

      a/k/a Melissa J. Freeman.

  2. The Scheduling Order in this matter was issued July 19, 2023. [ECF No. 20]

  3. The Deadline to complete discovery was December 6, 2023.
4. The Plaintiff sent its 1st Request for Admissions to the Defendant on October 3, 2023, via

   regular mail addressed to the Defendant at the property address. See Exhibit A (a true and

   correct copy of the First Request for Admissions to the Defendant and proof of mailing are

   attached hereto).

5. The Undersigned attorney for Plaintiff filed a final pre-trial memo on January 30, 2024,

   which listed Plaintiff ’s Request for Admissions served on the Defendant as a Trial Exhibit.

   [ECF No. 31]

6. On February 7, 2024, a final pre-trial conference was held via zoom video conference

   wherein counsel for Plaintiff and Defendant Melissa J. Schultz-Nielsen a/k/a Melissa J.

   Andrews a/k/a Melissa J. Freeman appeared.

7. At that time defendant did not raise any issues or objections to Plaintiffs proposed trial

   exhibits.

8. At the pretrial conference Plaintiff requested the trial be continued for the April 2024 trial

   list, and the Defendant consented. [ECF No. 33]

9. On February 8, 2024, the Court put this trial on the Trial list for April 2, 2024. [ECF No. 34]

10. The Court scheduled a second pretrial conference for March 6, 2024. [ECF No. 34]

11. On February 28, 2024, the undersigned council for Plaintiff filed a supplemental pretrial

   memo at [ECF No. 35]

12. Again, in its Pre-Trial Memo, Plaintiff listed the Defendant’s Requests for Admissions to

   Defendant as a proposed trial exhibit.

13. On March 6, 2024, a pretrial conference was held and Attorney Doonan appeared for the

   Plaintiff and Defendant Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews a/k/a Melissa J.

   Freeman appeared. [ECF No. 36]

14. At no time did Defendant raise any issue with the proposed exhibits.
15. On April 1, 2024, Defendant filed a Motion Objecting to Use of Requests for Admissions at

   Trial [ECF No. 37], in which she states she objects to the use of the Requests for

   Admissions at trial because she states she never received the Requests for Admissions and

   that was why she did not respond.

16. On April 2, 2024, the office of the undersigned re-sent the Requests for Admissions to the

   Defendant via regular and certified mail. See Exhibit B (a true and correct copy of the proof

   of mailing of the Requests for Admissions).

17. On April 15, 2024, the office of the undersigned reviewed the tracking information on the

   United States Postal Service’s website as to the certified envelope with the Requests for

   Admissions sent to the Defendant, which indicated the certified envelope was “Delivered,

   Individual Picked Up at Post Office” and also states, “Your item was picked up at the post

   office at 3:28 pm on April 10, 2024 in GARDINER, ME 04345.” See Exhibit C (a true and

   correct copy of the United State Postal Service’s website indicating tracking information of

   the certified envelope.)

                                                 /s/Kristine DelGenio
                                                          Kristine DelGenio
                                                          Paralegal

                          COMMONWEALTH OF MASSACHUSETTS
   ESSEX, ss.,

   On this 19th day of April 2024, before me the undersigned notary public personally appeared
   Kristine DelGenio who proved to me through satisfactory evidence of identification to be
   the person whose name is signed on this document, who swore or affirmed to me that the
   contents of the document are truthful and accurate to the best of her knowledge and belief.


                                                          /s/ Heather M. Morris
                                                          Notary Public
                                                          My Commission Expires: 03/30/2029
